








	







           




In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-07-00593-CR

____________


FREDERICK ERVIN COLE, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 182nd District Court

Harris County, Texas

Trial Court Cause No. 1107292






MEMORANDUM  OPINION

	Appellant, Frederick Ervin Cole, pleaded guilty to the felony offense of
attempted indecency with a child by exposure, and, in accordance with his plea
bargain agreement with the State, the trial court sentenced appellant to confinement
for nine months.  Appellant filed a timely pro se notice of appeal 

	In a plea-bargained case in which the punishment assessed does not exceed the
plea agreement, a defendant may appeal only those matters that were raised by written
motion filed and ruled on before trial, or after obtaining the trial court's permission
to appeal.  Tex. R. App. P. 25.2(a)(2); Griffin v. State, 145 S.W.3d 645, 648-49 (Tex.
Crim. App. 2004); Cooper v. State, 45 S.W.3d 77, 80 (Tex. Crim. App. 2001).	The trial court's certification of appellant's right to appeal in this case states
that this is a plea-bargained case and appellant has no right to appeal.  The record
supports the correctness of the certification.  Dears v. State, 154 S.W.3d 610, 614-15
(Tex.  Crim. App. 2005).  We must dismiss an appeal if the trial court's certification
shows there is no right to appeal.  See Tex. R. App. P. 25.2(d).

	We note that appellant also waived his right to appeal.  See Buck v. State, 45
S.W.3d 275, 278 (Tex. App.--Houston [1st Dist.] 2001, no pet.).

	Accordingly, we dismiss the appeal for lack of jurisdiction.

PER CURIAM

Panel consists of Justices Taft, Jennings, and Alcala.

Do not publish.   Tex. R. App. P. 47.2(b).


